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5452 Arlington Expressway
Jacksonville, FL 32211
904-725-0822
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ALBERT H. MICKLER BRYAN K. MICKLER

Mrc/United Wholesale
P.O. Box 619098 11 June 2024
Dallas, Texas 75261-9741

Gentlemen/ Ladies:

a Greetings! This office represents Mr. Todd Richard Van Camp and Ms. Emmy Jo May Van
Camp. Mr. and Ms. Van Camp were forced to file a bankruptcy petition in the United States
Bankruptcy Court, Middle District of Florida, Jacksonville Division Case # 3:24-bk-01129-BAJ
on 24 April 2024.

Mrc/United Wholesale holds /service a mortgage lien interest in the Van Camp homestead
real property located at 921 Huffner Hill Circle St. Augustine Florida 32092,

If the account is current, please send to this office a reaffirmation agreement in the
appropriate format. Mr. & s. Van Camp will sign the reaffirmation agreement and return the
reaffirmation agreement to Mrc/United Wholesale for filing with the bankruptcy Court.

Your attention is appreciated.

Sincerely,

A(- WL

Al Mickler
